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                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF LOUISIANA


 BRIAN HUMPHREY, et al.,                          Civil Action No. 3:20-cv-00233

        Plaintiffs,                               Judge John W. deGravelles

                 v.                               Magistrate Judge Scott D. Johnson

 JAMES LEBLANC,

        Defendant.


 JOEL GIROIR, et al.,                             Civil Action No. 3:21-cv-00108

        Plaintiffs,                               Judge John W. deGravelles

                v.                                Magistrate Judge Scott D. Johnson

 JAMES LEBLANC, et al.,

        Defendants.


             NOTICE OF SUPPLEMENTAL AUTHORITY IN SUPPORT OF
               PLAINTIFFS’ MOTION FOR CLASS CERTIFICATION

       On October 29, 2024, the U.S. Court of Appeals for the Fifth Circuit issued an unpublished

per curiam opinion in Buchicchio v. LeBlanc, 23-30116, 2024 U.S. App. LEXIS 27429 (5th Cir.

Oct. 29, 2024) (see Exhibit A).

       The central question driving both Humphrey and Giroir is whether the State’s pattern and

practice of overdetention violates the constitutional rights of people held without legal authority

in the custody of the Louisiana Department of Public Safety and Corrections (DPSC). See ECF

101-1, 19-21 (Humphrey); ECF 25-1, 12-15 (Giroir). Plaintiffs have moved for class certification

in both cases. See ECF 104 (Humphrey); ECF 25 (Giroir); see also ECF 21 (Humphrey) (lifting

administrative stay).
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       Buchicchio confirms that certification is appropriate. There, the Fifth Circuit reaffirmed

that “detention of a prisoner thirty days beyond the expiration of his sentence constitutes a

deprivation of due process.” Buchicchio, 2024 U.S. App. LEXIS 27429 at *8 (citing Douthit v.

Jones, 619 F.2d 527, 532 (5th Cir. 1980)). The panel also rejected the same argument Defendants

make in opposition to class certification here; that is, that violations must be “very similar” to

jointly form a pattern. Compare Buchicchio at *8 (“LeBlanc argues that Buchicchio has not plead

facts establishing a pattern of ‘very similar’ constitutional violations”); with Humphrey ECF 113

at 3 (LeBlanc argues that “Plaintiffs failed to prove that any common issues predominate over the

vast individualized issues here”). The Fifth Circuit explained that: “We have rejected these

arguments, holding that ‘[t]he standard for deliberate indifference requires only a ‘pattern of

similar constitutional violations by untrained employees’ rather than an exact duplication.’”

Buchicchio at *8 (citing Porter v. Epps, 59 F.3d 440, 445 (5th Cir. 2011)).

       Buchicchio is relevant to the Rule 23(a)(2) (commonality), Rule 23(a)(3) (typicality), Rule

23(b)(2) (common action), and Rule 23(b)(3) (predominance) prongs of the Court’s class

certification analysis, as it informs whether potential class members’ claims ask questions that “are

amenable to a common answer.” See Jones v. Gusman, 296 F.R.D. 416, 466 (E.D. La. 2013).

       Accordingly, Plaintiffs respectfully submit the opinion in Buchicchio as supplemental

authority in support of their Motion for Class Certification:

       •   Exhibit A: Buchicchio v. LeBlanc, 23-30116, 2024 U.S. App. LEXIS 27429 (5th Cir.
           Oct. 29, 2024)


Dated: November 7, 2024

                                                 /s/ Lydia Wright
                                                 Lydia Wright, La. Bar No. 37926
                                                 Samantha Bosalavage, La. Bar No. 39808
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